Case 3:19-cr-00001-TJC-PDB Document 96 Filed 01/02/20 Page 1 of 3 PageID 1028



                            United States District Court
                             Middle District of Florida
                               Jacksonville Division

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                            NO. 3:19-cr-01-J-32PDB

JOHN R. NETTLETON,

             Defendant.


                                       Order

      Before the Court is John Nettleton’s motion to conduct internet and social-
media research of prospective and empaneled jurors. Doc. 74. The United States takes
no position on the motion. Doc. 94.

      Based on the authority provided and the absence of opposition, the motion is
granted to the extent the parties may conduct internet and social-media research of
prospective jurors during voir dire under these conditions:

      1.     The website, account, or information must be available and
             accessible to the general public.

      2.     No attorney may send an access request to a prospective juror’s
             account, such as a Facebook “friend” request, a Twitter or
             Instagram “follow” request, or a LinkedIn “connection” request.

      3.     No direct communication or contact may occur between an
             attorney and a prospective juror.

      4.     Research must be done anonymously. For example, research
             through a social-media account must not disclose who is
             conducting the research to a potential juror, and the research
             must seek only information available and accessible to the
             general public and not available only because of an attorney’s own
             social-media account.
Case 3:19-cr-00001-TJC-PDB Document 96 Filed 01/02/20 Page 2 of 3 PageID 1029



      5.     Deception may not be used, including to gain access to a website
             or social-media account.

      6.     If an attorney learns of a prospective juror’s internet posting
             about the case, the attorney must immediately notify the
             presiding judge.

      7.     If there is no method of conducting research in a way that
             prevents a prospective juror from learning who is conducting the
             research, the research must not be conducted, as an inappropriate
             communication would occur. To maintain anonymity, attorneys
             must be familiar with search tools, including automatic
             subscriber-notification features.

      8.     No attorney may appeal to a particular prospective juror based on
             information learned from internet or social-media research.

      9.     Parties and paralegals, clerks, investigators, and others working
             for the benefit of or on behalf of any party or attorney must comply
             with the same conditions.

      No additional time to conduct voir dire will be provided, and the venire list will
not be provided earlier than is customary. The provision in the general order on the
possession and use of personal electronic devices prohibiting the use of such devices
to search for information about a prospective juror is suspended during voir dire in
this case. See In re Possession and Use of Personal Electronic Devices in Federal
Courthouses in the Middle District of Florida, 6:13-mc-94-Orl-22.

      The motion is denied to the extent internet and social-media research of an
empaneled juror following voir dire may not be conducted absent prior permission
from the presiding judge.

      Ordered in Jacksonville, Florida, January 2, 2020.




                                          2
Case 3:19-cr-00001-TJC-PDB Document 96 Filed 01/02/20 Page 3 of 3 PageID 1030



c:    The Honorable Timothy J. Corrigan
      Peter Nothstein, Esquire
      Daniel Schwarz, Esquire
      United States Marshal Services
      United States Pretrial Services
      John Nettleton




                                      3
